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        9   Attorneys for Plaintiffs Sally Loveland, Sharon Cheatle, Janine Cortese
       10
                                       UNITED STATES DISTRICT COURT
       11
                                    NORTHERN DISTRICT OF CALIFORNIA
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       14    MAXIMILLIAN KLEIN, et al.,                   CASE NO. 20-cv-08570-LHK;
                                                          CONSOLIDATED with Loveland v. Facebook,
       15                                                 No. 3:21-cv-03300; and Rosenman v Facebook,
                                   Plaintiff,
                                                          No. 5:21-cv-02108
       16
                    vs.
                                                          LOVELAND PLAINTIFFS’ NOTICE OF
       17                                                 DISMISSAL WITHOUT PREJUDICE
             FACEBOOK, INC.,                              PURSUANT TO FED. R. CIV. PROC.
       18                                                 41(a)(1)(A)(i)
                                   Defendant.
       19                                                 Judge:         Hon. James Donato
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HKRS                                                         1
              LOVELAND PLAINTIFFS’ NOTICE OF DISMISSAL WITHOUT PREJUDICE PURSUANT TO FED. R. CIV.
                                               PROC 41(A)(1)(A)(I)
               Case 3:20-cv-08570-JD Document 255 Filed 03/16/22 Page 2 of 3



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        2          Plaintiffs Sally Loveland, Sharon Cheatle, and Janine Cortese (“Loveland Plaintiffs”)
        3   hereby dismiss their operative Amended Complaint, originally, No. 3:21-cv-03300, see ECF No.
        4   42, without prejudice. This dismissal is made pursuant to Fed. R. Civ. Proc. 41(a)(1)(A)(i).
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        7          Dated: March 16, 2022                 HENNIG KRAMER RUIZ & SINGH
        8                                                _/s/ Sam Brown___________
                                                         Rob Hennig
        9                                                Sam Brown
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                                                         Attorneys for Loveland Plaintiffs
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HKRS                                                         2
              LOVELAND PLAINTIFFS’ NOTICE OF DISMISSAL WITHOUT PREJUDICE PURSUANT TO FED. R. CIV.
                                               PROC 41(A)(1)(A)(I)
               Case 3:20-cv-08570-JD Document 255 Filed 03/16/22 Page 3 of 3



        1                                  CERTIFICATE OF SERVICE
        2
                   I hereby certify that on March 16, 2022, the foregoing document was transmitted to the
        3
            Clerk’s Office using the CM/ECF System, causing the document to be electronically served on all
        4
            attorneys of record.
        5

        6   Dated: March 16, 2022                               By /s/ Sam Brown
                                                                   Sam Brown
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HKRS                                                        1
             LOVELAND PLAINTIFFS’ RESPONSE TO DEFENDANT FACEBOOK, INC.’S ADMNISTRATIVE MOTION
              FOR CLARIFICATION OF ORDERS CONSOLIDATING LOVELAND AND ROSENMMAN WITH KLEIN
